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                           UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF FLORIDA

                          CASE NO.’s        18-CR-20256-Martinez
                                            15-CR-20170-Moore

    UNITED STATES OF AMERICA,      :
                                   :
                 Plaintiff,        :
                                   :
    v.                             :
                                   :
    RAUL SOSA, SR.,                :
                                   :
               Defendant.          :
  ................................ :

            EMERGENCY MOTION REQUESTING HEARING ON MR. SOSA’S
                   MOTION FOR COMPASSIONATE RELEASE

        The Defendant, RAUL SOSA, SR., through undersigned counsel, respectfully

  requests this Honorable Court to set a hearing as soon as possible concerning his

  pending Motion for Compassionate Release. DE’s 72 and 152. In support of this motion,

  Mr. Sosa states as follows:

             1.       On May 13, 2020, undersigned filed a Motion for Compassionate

  Release Resentencing and Request for Home Confinement pursuant to 18 U.S.C.

  Section 3582(c)(1)(A). DE’s 72 and 152. The Defendant’s request is based on his serious

  medical conditions including diabetes and heart disease as well as the fact that the B.O.P.

  has been unable to control the Covid-19 outbreak at the FCI-Miami from spreading to the

  Defendant and those around him, and the fact that the B.O.P. continues to make poor

  and ill-advised medical decisions for the Defendant’s care and contrary to the best

  interests and desires of the Defendant.

             2.       On May 29, 2020, the Government filed its Response in Opposition




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  to Mr. Sosa’s motion. DE’s 76 and 155. In its Response, the Government advised the

  Court that Mr. Sosa was being reconsidered by the BOP for home confinement release

  due to his health conditions. Id.

             3.        On July 28, 2020, undersigned learned, for the first time, from an

  anonymous source, that Mr. Sosa was hospitalized at Larkin Community Hospital after

  contracting Covid-19 and had, at some time, been placed on a ventilator in the ICU at this

  medical facility. Shockingly, the B.O.P. failed to notify undersigned, the Defendant’s

  family, counsel for the government or either U.S. District Court Judge presiding over Mr.

  Sosa’s case, that Mr. Sosa was rushed by ambulance to the hospital after nearly dying at

  the facility from Covid-19 complications twenty days earlier on July 8, 2020. The medical

  records (which have been filed separately under seal with the Court) indicate that Mr.

  Sosa was rushed to the hospital on July 8, 2020, with Covid-19 symptoms, including, but

  not limited to, fever, shortness of breath, headache, chills, coughing and nausea. See

  medical records dated July 7, 2020, filed separately under seal.

             4.        Based on the most recent medical records received by undersigned

  dated July 30, 2020, Mr. Sosa was still positive for Covid-19, was still hospitalized but

  without the use of a mechanical ventilator at Larkin Community Hospital and was taking

  over 20 medications to treat his serious medical conditions. According to the records, Mr.

  Sosa was also pending transfer from the ICU to the telemetry unit. In the telemetry unit

  of a hospital, patients are often in critical condition and need constant monitoring and

  care.

             5.        Contrary to these medical orders, Mr. Sosa was sent back to the FCI-

  Miami. Not only was Mr. Sosa still positive with Covid-19, but he was placed with other




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  infected inmates and he was also released too early from the hospital given his medical

  state as he was complaining of shortness of breath and other Covid-19 symptoms. At the

  time, Mr. Sosa had also not received any of his prescribed medications including his

  insulin.

               6.      Given Mr. Sosa’s current medical state and the last known medical

  records provided to undersigned, Mr. Sosa should have been transported to a

  rehabilitation facility or kept at Larkin Community Hospital, where he will be properly

  treated for his medical conditions – including Covid-19 and not transported back to the

  FCI-Miami. At a minimum, the B.O.P.’s actions are callous and without regard to his

  healthcare needs. Accordingly, undersigned requests an immediate hearing concerning

  Mr. Sosa’s compassionate release motion to address the substance of his request and

  prevent further harm to his health as a result of the B.O.P.’s treatment..

               7.      After reviewing the facts and researching applicable legal principles,

  I certify that this motion in fact presents a true emergency (as opposed to a matter that

  may need only expedited treatment) and requires an immediate ruling because the Court

  would not be able to provide meaningful relief to a critical, non-routine issue after the

  expiration of seven days. I understand that an unwarranted certification may lead to

  sanctions.




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              WHEREFORE, the Defendant, RAUL SOSA, SR., through undersigned

  counsel, respectfully requests this Honorable Court to set a hearing as soon as possible

  concerning his Motion for Compassionate Release.

                                                      Respectfully submitted,

                                                      Paul D. Petruzzi, Esq.
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                                                      By:    /s/ Paul D. Petruzzi
                                                             PAUL D. PETRUZZI, ESQ.
                                                             Florida Bar No. 982059



                                    CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that on August 4, 2020, a true and correct copy of this document was

  furnished by CM/ECF to all counsel of record.


                                                      By:    /s/ Paul D. Petruzzi
                                                             PAUL D. PETRUZZI, ESQ.
                                                             Attorney for Defendant




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